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                                                     STATE OF NEW YORK
                                               OFFICE OF THE ATTORNEY GENERAL
LETITIA JAMES                                                                                                DIVISION OF REGIONAL OFFICES
 ATTORNEY GENERAL                                                                                              SYRACUSE REGIONAL OFFICE



                                                           March 18, 2024

        Hon. Therese Wiley Dancks
        United States District Court
        Northern District of New York
        James M. Hanley Federal Building
        100 S. Clinton St.
        Syracuse, New York 13261

                  RE:      Valencia AG, LLC v. Christopher Alexander, et al.
                           Case No.: 5:24-CV-116 (GTS/TWD)

        Dear Judge Dancks:

               The deadline for Defendants’ response to Plaintiff’s Amended Complaint has been
        calendared for March 27, 2024. Defendants respectfully request a two-week extension to respond
        to Plaintiff’s Amended Complaint, for a deadline of April 10, 2024. Plaintiff’s counsel has
        graciously indicated they have no objection to this request.


                                                                           Respectfully,


                                                                           _s/Aimee Cowan_____
                                                                           Aimee Cowan
                                                                           Assistant Attorney General
                                                                           Bar Roll No. 516178

        cc:       David J. Hoffa, Esq. (via CM/ECF)
                  Joshua P. Thompson, Esq. (via CM/ECF)
                  Robert E. Purcell, Esq. (via CM/ECF)



              300 So. State St., Suite 300, Syracuse, NY 13202 • (315) 448-4800 • Fax (315) 448-4853* *Not For Service of Papers

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